Case 1:21-cv-01808-RDM   Document 41-154   Filed 12/13/23   Page 1 of 27




                             Exhibit 154
            Case 1:21-cv-01808-RDM               Document 41-154        Filed 12/13/23       Page 2 of 27
        FOIA 17-0695


              (b)(6)             CENTCOM CCJ6 (USA)

From:                                            (b)(3), (b)(6)

Sent:                                Saturday, April 7, 2007 12:30 PM
To:


                                                                         (b)(3), (b)(6)




Subject:                             (FOUO) Casualty Report-INIT-Hoover, Levi (71615APR07)

Follow Up Flag:                      Follow up
Flag Status:                         Flagged




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                           FOR OFFICIAL USE ONLY




                                                                        ea
THIS E‐MAIL CONTAINS FOR OFFICIAL USE ONLY (FOUO) INFORMATION WHICH MUST BE PROTECTED UNDER THE
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                                                                      el
                                                                  rR
    DO NOT CHANGE ANYTHING BELOW THIS LINE.
TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
GENERATE THE EMAIL AGAIN.
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***********     CASUALTY REPORT     ************
                                  ov




************************************************************

Report Type: INIT
                                pr




Casualty Type: Hostile
                        Ap




Casualty Status: DECEASED

Casualty Category: Killed In Action

Report Number: 097‐003

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service

SSN (New/Old):         (b)(6)



Last Name: Hoover

                                                                  1
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                          292 03/14/2019
             Case 1:21-cv-01808-RDM                         Document 41-154          Filed 12/13/23   Page 3 of 27


First Name: Levi

Middle Name: Kennith

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: Delta Co., 5‐73 RSTA, 3HBCT, 1st Cavalry Division Opcon. To 25th Infantry Division

Date/Time of Incident (New/Old): 20070405/1615

Inflicting Force: Enemy Forces

Circumstance: At 071615APR07, Task Force 5‐73 reports an Improvised Explosive Device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5‐73 reports four United States Killed in Action and one United States
Wounded in Action. Two Killed in Action and the Wounded in Action are at 332nd Expeditionary Medical Group at Balad




                                                                                            se
and two Killed in Action are being evacuated to Forward Operating Base Warhorse.




                                                                                   ea
Duty Status: Present For Duty



                                                                             el
Remarks: Will Supplement when more information is available.
                                                                     rR
Pronounced by: PENDING.

Identified by: PENDING.
                                                                fo

Religious Ministries: PENDING.
                                                        ed



Will Supplement when more information is available.
                                             ov




Report by:           (b)(3), (b)(6)             3HBCT Casualty Operations Clerk, VOIP       (b)(6)
                                           pr




Reviewing Officer:             (b)(3), (b)(6)      3HBCT Executive Officer, VOIP   (b)(6)
                            Ap




As of Date: 71859APR07

Software Version: DCIPS Forward ‐ Version 4.0

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                   293 03/14/2019
            Case 1:21-cv-01808-RDM              Document 41-154                  Filed 12/13/23    Page 4 of 27


              (b)(6)            CENTCOM CCJ6 (USA)

From:                                                           (b)(3), (b)(6)                            on behalf of 332
                                   EMDG Balad CLT <332emdg.baladclt@blab.centaf.af.mil>
Sent:                              Saturday, April 7, 2007 1:55 PM
To:




                                                                                       se
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                                                                                  (b)(3), (b)(6)
                                                    fo
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                                ov
                              pr
                       Ap




Subject:                           (FOUO) Casualty Report - INIT - Hoover, Levi - Incident Date/Time: 2007/04/07

Follow Up Flag:                    Follow up
Flag Status:                       Flagged



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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                294 03/14/2019
            Case 1:21-cv-01808-RDM              Document 41-154         Filed 12/13/23       Page 5 of 27

Classification: CONFIDENTIAL


I am (b)(3), (b)(6) casualty representative for B/22 PSB, reporting from 332nd EMDG in Balad, Iraq (LSA Anaconda).
Attached is a real‐world casualty report.

"The casualty information contained in this email is SENSITIVE IN NATURE and must be protected from unauthorized or
accidental disclosure.
Release of this information is RESTRICTED. Under NO circumstances is this information to be released to the public or
the next of kin of the casualty without coordination and authorization from the servicing Casualty Area Command."



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    DO NOT CHANGE ANYTHING BELOW THIS LINE.




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TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
GENERATE THE EMAIL AGAIN.


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***********     CASUALTY REPORT     ************
************************************************************
                                                    fo

Report Type: INIT
                                           ed



Casualty Type: Hostile
                                 ov




Casualty Status: DECEASED
                               pr




Casualty Category: Killed In Action
                       Ap




Report Number: 097‐006

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service

SSN (New/Old):        (b)(6)



Last Name: Hoover

First Name: Levi

Middle Name: Kennith


                                                            2
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                            295 03/14/2019
              Case 1:21-cv-01808-RDM             Document 41-154       Filed 12/13/23       Page 6 of 27

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: D Co. 82nd BSB 82nd ABN

Military UIC: WG6CD0

Date/Time of Incident (New/Old): 20070407/

Inflicting Force: Enemy Forces

Incident Country: Iraq

Circumstance: Soldier was in the vicinity of MC 7042 4576 when his vehicle struck an IED.

Died in/out of Medical Facility Treatment: Died Outside A Medical Treatment Facility




                                                                            se
Date/Time of Death: 20070407/1648




                                                                     ea
Place of Death Country: Iraq



                                                                el
Cause of Death: Unknown
                                                           rR
Investigation Required: Investigation Required

TRNG/Duty Related: Not Training/Duty Related
                                                    fo

Duty Status: Present For Duty
                                           ed



Birth Date:     (b)(6)
                                  ov




Birth State: OH
                                pr




Birth Country: United States
                         Ap




Citizenship: United States

Sex: Male

Race: White

Religious Preference: No Religious Preference

DMOS/AFSC: 88M

PMOS: 11B

PEBD: 20050104

BASD/ADBD: 20050104


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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                         296 03/14/2019
            Case 1:21-cv-01808-RDM              Document 41-154         Filed 12/13/23             Page 7 of 27

HOR City: Midland

HOR State: MI

HOR Country: United States

Remarks: Soldier arrived at 332nd EMDG on 071648APR07.
Soldier did not have any identification on person and was identified visually by         (b)(3), (b)(6)        Company
Commander on 072100APR07 at 111 QM Co. Mortuary Affairs..
Soldier received religious ministries on 071648APR07 by          (b)(3), (b)(6)  USAF.
Report Completed By:      (b)(3), (b)(6) B/22 PSB, (b)(6)




Software Version: DCIPS Forward ‐ Version 4.0 Build: 57 Release Date:
01 MAR 2007

                        FOR OFFICIAL USE ONLY




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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                  297 03/14/2019
            Case 1:21-cv-01808-RDM               Document 41-154          Filed 12/13/23       Page 8 of 27


              (b)(6)             CENTCOM CCJ6 (USA)

From:                                                (b)(3), (b)(6)

Sent:                                Saturday, April 7, 2007 1:33 PM
To:




                                                                          (b)(3), (b)(6)




Subject:                             (FOUO) Casualty Report - INIT - Hoover, Levi - Incident Date/Time: 2007/04/05 16:15




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    DO NOT CHANGE ANYTHING BELOW THIS LINE.
TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
GENERATE THE EMAIL AGAIN.
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***********     CASUALTY REPORT     ************
                                  ov




************************************************************

Report Type: INIT
                                pr




Casualty Type: Hostile
                        Ap




Casualty Status: DECEASED

Casualty Category: Killed In Action

Report Number: 097‐046‐07

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service

SSN (New/Old):         (b)(6)



Last Name: Hoover

                                                                      1
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                              298 03/14/2019
            Case 1:21-cv-01808-RDM               Document 41-154         Filed 12/13/23        Page 9 of 27


First Name: Levi

Middle Name: Kennith

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: D Co, 5‐73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Date/Time of Incident (New/Old): 20070405/1615

Inflicting Force: Enemy Forces

Incident City: Zaganiyah

Incident Country: Iraq




                                                                              se
Circumstance: At 071615Apr07, Task Force 5‐73 reports an improvised explosive device in the Diyala Province, in




                                                                       ea
Zaganiyah in the vicinity of 38S MC 7042 4576. 5‐73 reports four United States killed in action and one United States
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action


                                                                  el
are being evacuated to Forward Operating Base Warhorse.
                                                           rR
Died in/out of Medical Facility Treatment: Died Outside A Medical Treatment Facility

Place of Death City: Zaganiyah
                                                    fo

Place of Death Country: Iraq
                                           ed



Investigation Required: Investigation Required
                                  ov




TRNG/Duty Related: Training/Duty Related
                                pr




Duty Status: Present For Duty
                         Ap




Remarks: Will SUPP when more information is available. Report by:              (b)(3), (b)(6)  3HBCT Casualty Operations
Clerk, VOIP (b)(6)         Reviewing Officer:    (b)(3), (b)(6)  3HBCT Executive Officer, VOIP   (b)(6) DCIPS was
prepared by (b)(3), (b)(6) MNC‐I casualty operations on 07 Apr 07 at 2132hrs. MNC‐I POC for this report is (b)(3), (b)(6)
 (b)(3), (b)(6) MNC‐I casualty operations NCOIC at        (b)(6)



Software Version: DCIPS Forward ‐ Version 4.0 Build: 55 Release Date: 28 NOV 2006

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                              299 03/14/2019
   Case 1:21-cv-01808-RDM              Document 41-154   Filed 12/13/23   Page 10 of 27




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    AGAIN.
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    ***********      CASUALTY REPORT         ************
    ************************************************************




                                                         ea
    Report Type: SUPP

    Casualty Type: Hostile
                                                    el
                                                   rR
    Casualty Status: DECEASED
                                            fo

    Casualty Category: Killed In Action
                                      ed



    Report Number: 097-003A
                        ov




    Personnel Type: Regular
                      pr




    Personnel Affiliation: Active Duty
              Ap




    Personnel Category: Obligated/Voluntary Service

    SSN (New/Old):           (b)(6)



    Last Name: Hoover

    First Name: Levi

    Middle Name: Kennith

    Service: United States Army

    Military Rank: SPC




USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                300 03/14/2019
   Case 1:21-cv-01808-RDM              Document 41-154   Filed 12/13/23     Page 11 of 27




    Military Unit of Assignment: Delta Co., 5-73 RSTA, 3HBCT, 1st Cavalry Division
    Opcon. To 25th Infantry Division

    Military UIC: WG6CD0

    Date/Time of Incident (New/Old): 20070405/1615

    Inflicting Force: Enemy Forces

    Incident Country: Iraq

    Circumstance: At 071615APR07, Task Force 5-73 reports an Improvised Explosive
    Device exploding in the Diyala Province, in Zaganiyah in the vicinity of 38S MC 7042
    4576. The blast resulted in four United States Killed in Action and one United States
    Wounded in Action. Two Killed in Action and the Wounded in Action are at 332nd




                                                               se
    Expeditionary Medical Group at Balad and two Killed in Action are being evacuated to
    Forward Operating Base Warhorse.




                                                         ea
       Body Armor: Eye Protector / Oakley (Ballistic) Spectacle

       Body Armor: Helmet / Advanced Combat Helmet
                                                     el
                                                   rR
       Body Armor: Vest / Outer Tactical Vest
                                            fo

    Place of Death Country: Iraq
                                   ed



    Cause of Death: Massive trauma
                        ov




    Grid: MC 7042 4576
                      pr




    Vehicle Group: HIGH-MOBILITY MULTIPURPOSE WHEELED VEHICLE
    (HMMWV)
              Ap




    Vehicle Type: M1114 Truck Utility Up-Armored Armament Carrier 4X4 W/E

    Vehicle Armor Level: Level I armor is integrated during production

    Vehicle Owner: US Government

    Position in Vehicle: Passenger

    Investigation Required: Investigation Required

    TRNG/Duty Related: Training/Duty Related

    Duty Status: Present For Duty




USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                   301 03/14/2019
   Case 1:21-cv-01808-RDM                    Document 41-154          Filed 12/13/23   Page 12 of 27




    DD Form 93 Date: 20060629

    DD Form 93 Review Date: 20060629

    SGLI Date: 20060629

    Birth Date:      (b)(6)



    Birth State: OH

    Birth Country: United States

    Citizenship: United States




                                                                             se
    Sex: Male




                                                                     ea
    Race: White



                                                                   el
    Religious Preference: No Religious Preference
                                                             rR
    DMOS/AFSC: 11B
                                                   fo

    PMOS: 11B

    PEBD: 20050104
                                      ed



    BASD/ADBD: 20050104
                        ov




    HOR City: Midland
                      pr




    HOR State: MI
              Ap




    HOR Country: United States

    Remarks: Soldier who identified SM and Soldier who pronounced SM deceased are
    unknown at this time.

    15-6 Investigating Officer is                 (b)(3), (b)(6)   HHC 5-73 RSTA.

    SCMO Officer is              (b)(3), (b)(6)             HHC 5-73 RSTA.

    SUPP made to reflect 15-6 and SCMO Officers.

    Will SUPP as information becomes available.




USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                             302 03/14/2019
   Case 1:21-cv-01808-RDM                       Document 41-154        Filed 12/13/23    Page 13 of 27




    Report completed by        (b)(3), (b)(6)    3HBCT Casualty NCO,         (b)(6)



    Field Grade Reviewing Officer:                  (b)(3), (b)(6)   3HBCT Executive Officer,    (b)(6)



    Report as of 081658Apr07.

    Software Version: DCIPS Forward - Version 4.0

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USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                303 03/14/2019
           Case 1:21-cv-01808-RDM              Document 41-154                  Filed 12/13/23     Page 14 of 27


              (b)(6)            CENTCOM CCJ6 (USA)

From:                                                          (b)(3), (b)(6)                              on behalf of 332
                                   EMDG Balad CLT <332emdg.baladclt@blab.centaf.af.mil>
Sent:                              Saturday, April 7, 2007 2:12 PM
To:




                                                                                       se
                                                                          ea
                                                                 el
                                                           rR
                                                                                  (b)(3), (b)(6)
                                                    fo
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                                ov
                              pr
                       Ap




Subject:                           (FOUO) Casualty Report - SUPP - Hoover, Levi - Incident Date/Time: 2007/04/07

Follow Up Flag:                    Follow up
Flag Status:                       Flagged



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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                 304 03/14/2019
           Case 1:21-cv-01808-RDM              Document 41-154          Filed 12/13/23      Page 15 of 27

Classification: CONFIDENTIAL

I am (b)(3), (b)(6) casualty representative for B/22 PSB, reporting from 332nd EMDG in Balad, Iraq (LSA Anaconda).
Attached is a real‐world casualty report.

UPDATED: Remarks

"The casualty information contained in this email is SENSITIVE IN NATURE and must be protected from unauthorized or
accidental disclosure.
Release of this information is RESTRICTED. Under NO circumstances is this information to be released to the public or
the next of kin of the casualty without coordination and authorization from the servicing Casualty Area Command."




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    DO NOT CHANGE ANYTHING BELOW THIS LINE.


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TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
GENERATE THE EMAIL AGAIN.
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***********     CASUALTY REPORT     ************
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                                           ed



Report Type: SUPP
                                 ov




Casualty Type: Hostile
                               pr




Casualty Status: DECEASED
                      Ap




Casualty Category: Killed In Action

Report Number: 097‐006A

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service

SSN (New/Old):       (b)(6)



Last Name: Hoover

First Name: Levi


                                                            2
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                            305 03/14/2019
              Case 1:21-cv-01808-RDM              Document 41-154             Filed 12/13/23             Page 16 of 27

Middle Name: Kennith

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: D Co. 82nd BSB 82nd ABN

Military UIC: WG6CD0

Date/Time of Incident (New/Old): 20070407/

Inflicting Force: Enemy Forces

Incident Country: Iraq

Circumstance: Soldier was in the vicinity of MC 7042 4576 when his vehicle struck an IED.




                                                                                    se
Died in/out of Medical Facility Treatment: Died Outside A Medical Treatment Facility




                                                                            ea
Date/Time of Death: 20070407/1648



                                                                       el
Place of Death Country: Iraq
                                                             rR
Cause of Death: Unknown

Grid: MC 7042 4576
                                                        fo

Investigation Required: Investigation Required
                                              ed



TRNG/Duty Related: Not Training/Duty Related
                                   ov




Duty Status: Present For Duty
                                 pr




Birth Date:     (b)(6)
                         Ap




Birth State: OH

Race: White

Religious Preference: No Religious Preference

DMOS/AFSC: 88M

Remarks: Soldier arrived at 332nd EMDG on 071648APR07.
Soldier was pronounced at 071648APR07 by                (b)(3), (b)(6)                USAF.
Soldier did not have any identification on person and was identified visually by                 (b)(3), (b)(6)       , Company
Commander on 072100APR07 at 111 QM Co. Mortuary Affairs.
Soldier received religious ministries on 071648APR07 by                (b)(3), (b)(6)    USAF.
Report Completed By:                 (b)(3), (b)(6)



Software Version: DCIPS Forward ‐ Version 4.0 Build: 57 Release Date: 01 MAR 2007

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                          306 03/14/2019
           Case 1:21-cv-01808-RDM                Document 41-154           Filed 12/13/23    Page 17 of 27


              (b)(6)            CENTCOM CCJ6 (USA)

From:                                                 (b)(3), (b)(6)

Sent:                                Saturday, April 7, 2007 2:48 PM
To:




                                                                            (b)(3), (b)(6)




Subject:                             (FOUO) Casualty Report - SUPP - Hoover, Levi - Incident Date/Time: 2007/04/05 16:15




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    DO NOT CHANGE ANYTHING BELOW THIS LINE.
TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
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GENERATE THE EMAIL AGAIN.
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***********     CASUALTY REPORT     ************
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Report Type: SUPP

Casualty Type: Hostile

Casualty Status: DECEASED

Casualty Category: Killed In Action

Report Number: 097‐052‐07

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service


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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                             307 03/14/2019
             Case 1:21-cv-01808-RDM                  Document 41-154              Filed 12/13/23         Page 18 of 27

SSN (New/Old):          (b)(6)



Last Name: Hoover

First Name: Levi

Middle Name: Kennith

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: D Co, 5‐73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Date/Time of Incident (New/Old): 20070405/1615

Inflicting Force: Enemy Forces




                                                                                        se
Incident City: Zaganiyah




                                                                                ea
Incident Country: Iraq



                                                                          el
Circumstance: At 071615Apr07, Task Force 5‐73 reports an improvised explosive device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5‐73 reports four United States killed in action and one United States
                                                                 rR
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action
are being evacuated to Forward Operating Base Warhorse.
                                                          fo

Died in/out of Medical Facility Treatment: Died Outside A Medical Treatment Facility
                                                ed



Date/Time of Death: 20070407/1648
                                    ov




Place of Death City: Zaganiyah

Place of Death Country: Iraq
                                  pr
                         Ap




Duty Status: Present For Duty

Remarks: SUPP to time of death, Soldier arrived at 332 EMDG on 7 APR 07 at 16:48, Soldier was pronounced deceased
by                  (b)(3), (b)(6)                 USAF, Soldier did not have any identification on person and was identified visually by
         (b)(3), (b)(6)                    Company Commander on 7 APR 07 at 21:00, Soldier received religious ministaries on 7 APR 07
at 16:48 by                   (b)(3), (b)(6)        USAF. Report initiated by (b)(3), (b)(6) of B/22 PSB. DCIPS prepared by (b)(3), (b)(6)
MNC‐I Casualty Operations on 7 APR 07 at 2247. MNC‐I POC for this report is                             (b)(3), (b)(6) MNC‐I Casualty
Operations NCOIC at                         (b)(6)



Software Version: DCIPS Forward ‐ Version 4.0 Build: 55 Release Date: 28 NOV 2006

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         USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                         308 03/14/2019
           Case 1:21-cv-01808-RDM               Document 41-154             Filed 12/13/23    Page 19 of 27


              (b)(6)              CENTCOM CCJ6 (USA)

From:                                                      (b)(3), (b)(6)

Sent:                                Sunday, April 8, 2007 1:26 PM
To:



                                                                             (b)(3), (b)(6)




Subject:                             (FOUO) Casualty Report - SUPP - Hoover, Levi - Incident Date/Time: 2007/04/05 16:15




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PRIVACY ACT, DOD 5400.11‐R. TREAT ANY ATTACHMENTS AS FOUO.



                                                                            el
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    DO NOT CHANGE ANYTHING BELOW THIS LINE.
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TO CHANGE THIS CASUALTY REPORT, DISCARD THIS EMAIL, RETURN TO DCIPS‐FORWARD, MAKE YOUR CHANGES AND
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***********     CASUALTY REPORT     ************
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                                   ov




Report Type: SUPP
                                 pr




Casualty Type: Hostile
                        Ap




Casualty Status: DECEASED

Casualty Category: Killed In Action

Report Number: 098‐038‐07

Personnel Type: Regular

Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service

SSN (New/Old):         (b)(6)



Last Name: Hoover


                                                                  1
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                             309 03/14/2019
           Case 1:21-cv-01808-RDM             Document 41-154          Filed 12/13/23      Page 20 of 27

First Name: Levi

Middle Name: Kennith

Service: United States Army

Military Rank: SPC

Military Unit of Assignment: D Co, 5‐73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Military UIC: WG6CD0

Date/Time of Incident (New/Old): 20070405/1615

Inflicting Force: Enemy Forces

Incident City: Zaganiyah




                                                                            se
Incident Country: Iraq




                                                                     ea
Circumstance: At 071615Apr07, Task Force 5‐73 reports an improvised explosive device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5‐73 reports four United States killed in action and one United States


                                                                 el
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action
are being evacuated to Forward Operating Base Warhorse.
                                                          rR
  Body Armor: Eye Protector / Oakley (Ballistic) Spectacle
                                                   fo

  Body Armor: Helmet / Advanced Combat Helmet / No Attachments
                                           ed



  Body Armor: Vest / Outer Tactical Vest
                                   ov




Died in/out of Medical Facility Treatment: Died Outside A Medical Treatment Facility

Date/Time of Death: 20070407/1648
                                 pr
                         Ap




Place of Death City: Zaganiyah

Place of Death Country: Iraq

Cause of Death: Massive Trauma

Grid: MC 70420 45760

Vehicle Group: HIGH‐MOBILITY MULTIPURPOSE WHEELED VEHICLE (HMMWV)

Vehicle Type: M1114 Truck Utility Up‐Armored Armament Carrier 4X4 W/E

Vehicle Armor Level: Level I armor is integrated during production

Vehicle Owner: US Government

Position in Vehicle: Passenger

                                                             2
       USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                            310 03/14/2019
              Case 1:21-cv-01808-RDM            Document 41-154          Filed 12/13/23       Page 21 of 27


Duty Status: Present For Duty

Continously Hospitalized: Not Continuously Hospitalized

DD Form 93 Date: 20060629

DD Form 93 Review Date: 20060629

SGLI Date: 20060629

Birth Date:     (b)(6)



Birth State: OH

Birth Country: United States

Citizenship: United States




                                                                               se
Sex: Male




                                                                        ea
Race: White

Religious Preference: No Religious Preference
                                                                   el
                                                           rR
DMOS/AFSC: 11B
                                                    fo

PMOS: 11B
                                           ed



PEBD: 20050104
                                  ov




BASD/ADBD: 20050104

HOR City: Midland
                                pr
                         Ap




HOR State: MI

HOR Country: United States

Remarks: SUPP to UIC, Grid, Vehicle info, cause of death, personal info, and remarks (15‐6 and SCMO officer). 15‐6
investigating officer is      (b)(3), (b)(6) HHC 5‐73 RSTA. SCMO Officer is           (b)(3), (b)(6)   HHC 5‐73 RSTA. Report
completed by (b)(3), (b)(6) 3HBCT Casualty NCO,     (b)(6)  DCIPS prepared by         (b)(3), (b)(6) MNCI Casualties
Operations on 8 April 2007 at 2126 MNC‐I POC for this report is        (b)(3), (b)(6)        MNC‐I Casualty Operations NCOIC
at DSN     (b)(6)



Software Version: DCIPS Forward ‐ Version 4.0 Build: 55 Release Date: 28 NOV 2006

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                               311 03/14/2019
              Case 1:21-cv-01808-RDM            Document 41-154           Filed 12/13/23     Page 22 of 27


                    (b)(6)       CENTCOM CCJ6 (USA)

From:                                                                       Perscom FWD
                                                    (b)(3), (b)(6)
                                                                            > on behalf of grp.Casualty Operations Kuwait
                                      <casualtyops@kuwait.swa.army.mil>
Sent:                                 Wednesday, April 11, 2007 1:20 AM
To:


                                                                           (b)(3), (b)(6)




Cc:                                   grpCasualty Operations Kuwait
Subject:                              (FOUO) CASUALTY REPORT <Hoover, Levi, Kennith>


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INFORMATION MUST BE PROTECTED UNDER THE PRIVACY ACT AND DOD 5400.11-R.




                                                                         ea
Field Report Type: SUPP



                                                                         el
Casualty Type: Hostile
                                                               rR
Casualty Status: Deceased

Casualty Category: Killed In Action
                                                     fo

Field Report Number: 101-029-07
                                             ed



Personnel Type: Regular

Personnel Affiliation: Active Duty
                                  ov




Personnel Category: Obligated/Voluntary Service
                                pr




SSN:       (b)(6)
                             Ap




Last Name: Hoover

First Name: Levi

Middle Name: Kennith

Military Rank: Specialist

Service: United States Army

Military Unit of Assignment: D Co, 5-73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Died in/out of Medical Treatment Facility: Died Outside A Medical Treatment Facility

Duty Status: Present For Duty

Date/time of Incident: 20070407 16:15:00

Incident City: Zaganiyah

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                             312 03/14/2019
             Case 1:21-cv-01808-RDM                 Document 41-154              Filed 12/13/23         Page 23 of 27

Incident Country: Iraq

Circumstances: At 071615Apr07, Task Force 5-73 reports an improvised explosive device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5-73 reports four United States killed in action and one United States
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action are
being evacuated to Forward Operating Base Warhorse.


Inflicting Force: Enemy Forces

Place of Death City: Zaganiyah

Place of Death Country:

Remarks: SUPP to date of incident. Report initiated by (b)(3), (b)(6) MNC-I CAS OPS. DCIPS by               (b)(3), (b)(6)       QA'd by
  (b)(3), (b)(6)
                  The administrative data in this  report has been verified by using official CAC resources. DCIPS          prepared by
                 MNC-I Casualty Operations on 11 APR 07 at 0903hrs. MNC-I POC for this report is                  (b)(3), (b)(6)
MNC-I Casualty Operations NCOIC,               (b)(6)




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         USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                                        313 03/14/2019
              Case 1:21-cv-01808-RDM             Document 41-154        Filed 12/13/23      Page 24 of 27


                    (b)(6)       CENTCOM CCJ6 (USA)

From:                                 grp.Casualty Operations Kuwait <casualtyops@kuwait.swa.army.mil>
Sent:                                 Saturday, April 14, 2007 1:23 AM
To:


                                                                           (b)(3), (b)(6)




Cc:                                   grpCasualty Operations Kuwait
Subject:                              (FOUO) CASUALTY REPORT <Hoover, Levi, Kennith> (UNCLASSIFIED)


Classification: UNCLASSIFIED
Caveats: FOUO




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INFORMATION MUST BE PROTECTED UNDER THE PRIVACY ACT AND DOD 5400.11-R.




                                                                       ea
Field Report Type: SUPP

Casualty Type: Hostile
                                                                  el
                                                           rR
Casualty Status: Deceased

Casualty Category: Killed In Action
                                                     fo

Field Report Number: 104-034-07
                                             ed



Personnel Type: Regular
                                  ov




Personnel Affiliation: Active Duty

Personnel Category: Obligated/Voluntary Service
                                pr




SSN:
                             Ap




           (b)(6)


Last Name: Hoover

First Name: Levi

Middle Name: Kennith

Military Rank: Specialist

Service: United States Army

Military Unit of Assignment: D Co, 5-73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Died in/out of Medical Treatment Facility: Died Outside A Medical Treatment Facility

Duty Status: Present For Duty

Date/time of Incident: 20070405 16:15:00


                                                             1
        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                           314 03/14/2019
            Case 1:21-cv-01808-RDM             Document 41-154         Filed 12/13/23       Page 25 of 27
Incident City: Zaganiyah

Incident Country: Iraq

Circumstances: At 071615Apr07, Task Force 5-73 reports an improvised explosive device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5-73 reports four United States killed in action and one United States
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action are
being evacuated to Forward Operating Base Warhorse.


Inflicting Force: Enemy Forces

Place of Death City: Zaganiyah

Place of Death Country:

Remarks: SUPP to PE being delivered to the MACP on 14 APR 07. Report was initiated by         (b)(3), (b)(6)  of 3HBCT
Casualty Ops. DCIPS prepared by (b)(3), (b)(6) MNC-I Casualty Operations on 14 APR 07 at 2100. MNC-I POC for this
report is        (b)(3), (b)(6)   MNC-I Casualty Operations NCOIC at           (b)(6) DCIPS by (b)(3), (b)(6)     The
administrative data in this report has been verified by using official CAC resources.




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Classification: UNCLASSIFIED
Caveats: FOUO


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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                            315 03/14/2019
              Case 1:21-cv-01808-RDM             Document 41-154        Filed 12/13/23      Page 26 of 27


              (b)(3), (b)(6)     CENTCOM CCJ6 (USA)

From:                                 grp.Casualty Operations Kuwait <casualtyops@kuwait.swa.army.mil>
Sent:                                 Tuesday, April 24, 2007 2:30 PM
To:



                                                                          (b)(3), (b)(6)




Cc:                                   grpCasualty Operations Kuwait
Subject:                              [UNCLASSIFIED / FOUO] (FOUO) CASUALTY REPORT <Hoover, Levi, Kennith>supp
                                      hostile de




                                                                                se
Classification: UNCLASSIFIED / FOUO




                                                                       ea
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INFORMATION MUST BE PROTECTED UNDER THE PRIVACY ACT AND DOD 5400.11-R.

Field Report Type: SUPP
                                                                  el
                                                           rR
Casualty Type: Hostile
                                                     fo

Casualty Status: Deceased

Casualty Category: Killed In Action
                                             ed



Field Report Number: 114-089-07
                                  ov




Personnel Type: Regular
                                pr




Personnel Affiliation: Active Duty
                               Ap




Personnel Category: Obligated/Voluntary Service

SSN:       (b)(6)


Last Name: Hoover

First Name: Levi

Middle Name: Kennith

Military Rank: Specialist

Service: United States Army

Military Unit of Assignment: D Co, 5-73 RSTA, 3HBCT, 1 CD OPCON, 25ID

Died in/out of Medical Treatment Facility: Died Outside A Medical Treatment Facility

Duty Status: Present For Duty

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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                           316 03/14/2019
            Case 1:21-cv-01808-RDM              Document 41-154          Filed 12/13/23        Page 27 of 27
Date/time of Incident: 20070405 16:15:00

Incident City: Zaganiyah

Incident Country: Iraq

Circumstances: At 071615Apr07, Task Force 5-73 reports an improvised explosive device in the Diyala Province, in
Zaganiyah in the vicinity of 38S MC 7042 4576. 5-73 reports four United States killed in action and one United States
wounded in action. Two killed in action and the wounded in action are at 332D EMDG at Balad and two killed in action are
being evacuated to Forward Operating Base Warhorse.


Inflicting Force: Enemy Forces

Place of Death City: Zaganiyah

Place of Death Country:

 Remarks: SUPP to 15-6 investigation, PE data. A. The POC for this report is                        (b)(3), (b)(6)      . B.
 The administrative data in this report has been verified by using official CAC resources. 15-6 investigation was completed




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                                                                               se
 on 18 APR 07. Soldier's PE Data were inventoried and delivered to MACP on 10 APR 07. Report completed by: (b)(6)
d]



(b)(3), (b)(6) 3HBCT Casualty NCO,    (b)(6)    Field Grade Reviewing Officer:       (b)(3), (b)(6) 3HBCT Executive Officer,
      (b)(6)     DCIPS was prepared by (b)(3), (b)(6) MNC-I casualty operations on 24 Apr 07 at 2218hrs. MNC-I POC for this




                                                                        ea
 report is                          MNC-I casualty operations NCOIC at

                                                                   ~
                     (b)(3), (b)(6)                                           (b)(6)




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Classification: UNCLASSIFIED / FOUO
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        USCENTCOM FOIA 17-0647-17-0717 & 17-0721-17-0722                                               317 03/14/2019
